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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              )      Chapter 13
    ROBERT BRUCE                                    )      Docket No. 20-12971-MDC
                             Debtor                 )
                                                    )      MOTION FOR STAY RELIEF
                                                    )      103 W. Albemarle Ave., Lansdowne, PA
     SANTANDER BANK, N.A.                           )
                   Movant                           )
          vs.                                       )
                                                    )
     ROBERT BRUCE                                   )
                             Respondent             )

                                                 ORDER

              AND NOW, this       2nd         day of     February     , 2021, upon the written

 Stipulation for Stay Relief signed by the Debtor, Robert Bruce, his counsel, Christopher Bokas,

 Esq., and Santander Bank (“Santander”), by and through its counsel Thomas A. Capehart, Esq., it

 is hereby:

              ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy

 Code shall be conditionally terminated with respect to Santander as of this date;

                ORDERED, that if the Debtor fails to make the payments as required under the

 terms of the Stipulation, Santander shall, following a ten (10) day notice to debtor and debtor’s

 counsel, be authorized to then file a Certificate of Default with the Court, upon which the

 Automatic Stay provisions of Section 362 shall be unconditionally terminated with respect to

 Santander and Santander shall be entitled to proceed with available state court remedies against

 the Premises located at 103 W. Albemarle Ave., Lansdowne, Delaware County, Pennsylvania

 (“Premises”), including without limitation, a mortgage foreclosure and Sheriff’s Sale of the

 Premises, all without further application to this Court or notice to the Debtor or his counsel.
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                ORDERED, that this Order shall not be stayed until the expiration of the 14 days

 after its entry pursuant to Bankruptcy Rule 4001(a) but rather shall become effective as of the date

 this Order is signed.


                                                    BY THE COURT:




                                                    MAGDELINE D. COLEMAN
                                                    Chief U.S. Bankruptcy Judge
